                                      IN	  THE	  UNITED	  STATES	  DISTRICT	  COURT	  	  
                                     FOR	  THE	  MIDDLE	  DISTRICT	  OF	  TENNESSEE	  
                                                       AT	  NASHVILLE	  
 	  
 UNITED	  STATES	  OF	  AMERICA,	  	       	       )	  
 	       	          	    	          	      	       )	  
 	       	          	    	          	      	       )	       Case	  No.	  	  3:10-­‐cr-­‐00260-­‐8	  
 v.	     	          	    	          	      	       )	       William	  J.	  Haynes	  
 	       	          	    	          	      	       )	       Federal	  District	  Judge	  
 	       	          	    	          	      	       )	  
 FADUMO	  MOHAMED	  FARAH.	                  	       )	  
 _________________________________________________________________________________________________	  
 	  
      MOTION	  IN	  LIMINE	  TO	  EXCLUDE	  ANY	  REFERENCE	  TO	  RESULTS	  OF	  POLYGRAPH	  
                                                EXAMINATION	  	  
 _________________________________________________________________________________________________	  
                                                         	  
 	       Comes	  now	  the	  accused,	  through	  her	  appointed	  Counsel,	  and	  would	  move	  

 this	  Honorable	  Court,	  pursuant	  to	  Rules	  401,	  402	  and	  403	  of	  the	  Federal	  Rules	  of	  

 Evidence,	  to	  issue	  an	  order	  prohibiting	  the	  Government	  from	  mentioning	  and/or	  

 eliciting	  testimony	  from	  any	  witness,	  in	  the	  presence	  of	  the	  jury,	  regarding	  the	  

 results	  of	  the	  polygraph	  examination	  conducted	  on	  Fadumo	  Farah	  on	  September	  29,	  

 2010.	  	  In	  support	  thereof,	  defendant	  states	  the	  following:	  

            1.	  	  	     The	  results	  of	  a	  polygraph	  examination	  are	  generally	  inadmissible	  at	  

 trial.	  	  Wolfel	  v.	  Holbrook,	  823	  F.2d	  970,	  973	  (6th	  Cir.1987),	  cert.	  denied,	  484	  U.S.	  

 1069,	  108	  S.Ct.	  1035,	  98	  L.Ed.2d	  999(1988);	  United	  States	  v.	  Barger,	  931	  F.2d	  359,	  

 370	  (6th	  Cir.1991);	  United	  States	  v.	  Weiner,	  988	  F.2d	  629	  (6th	  Cir.1993),	  cert.	  

 denied,	  510	  U.S.	  848,	  114	  S.Ct.	  142,	  126	  L.Ed.2d	  105	  (1993).	  However,	  the	  Sixth	  

 Circuit	  has	  recognized	  that	  the	  court	  has	  some	  discretion	  as	  to	  whether	  to	  admit	  

 polygraph	  related	  evidence	  where	  “it	  is	  relevant	  to	  the	  proof	  developed	  by	  the	  

 probative	  evidence.”	  Wolfel	  at	  972.	  	  When	  determining	  whether	  to	  admit	  polygraph	  

 related	  evidence	  the	  court	  must	  administer	  a	  two	  prong	  test:	  1)	  the	  trial	  court	  must	  



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 determine	  the	  relevance	  of	  the	  proffered	  evidence,	  and	  2)	  the	  court	  must	  balance	  

 the	  probative	  value	  of	  the	  evidence	  against	  the	  danger	  of	  unfair	  prejudice.	  Wolfel	  at	  

 972.	  	  In	  the	  instant	  case,	  the	  results	  of	  the	  examination	  are	  not	  relevant	  and	  would	  

 be	  unfairly	  prejudicial	  to	  the	  Accused.	  	  	  


            2.	  	  	     Although	  the	  court	  has	  some	  discretion	  in	  whether	  to	  admit	  polygraph	  

 related	  evidence,	  in	  circumstances	  where	  there	  has	  not	  been	  a	  prior	  agreement	  

 waiving	  any	  objection	  to	  the	  admissibility	  of	  the	  results	  of	  the	  polygraph,	  it	  is	  

 “almost	  never	  admissible”.	  Wolfel	  at	  972;	  Conti	  v.	  C.I.R.,	  39	  F.3d	  658,	  663	  (6th	  

 Cir.1994),	  cert.	  denied,	  514	  U.S.	  1082,	  115	  S.Ct.	  1793,	  131	  L.Ed.2d	  722	  (1995).	  Such	  

 an	  agreement	  is	  necessary	  to	  ensure	  that	  a	  defendant	  who	  agrees	  to	  be	  polygraphed	  

 has	  sufficient	  adverse	  interest	  to	  create	  the	  probative	  value	  to	  the	  test	  result	  

 required	  to	  satisfy	  the	  Federal	  Rules	  of	  Evidence.	  Id.	  at	  974–75.	  	  In	  the	  instant	  case,	  

 at	  the	  time	  of	  the	  polygraph	  examination,	  there	  was	  no	  agreement	  between	  the	  

 Government	  and	  the	  Defendant	  that	  the	  results	  would	  be	  presented	  at	  trial.	  

 Therefore,	  any	  such	  evidence	  has	  no	  probative	  value	  and	  should	  be	  excluded.	  	  	  	  


 	         WHEREFORE,	  Premises	  considered,	  the	  accused	  moves	  this	  honorable	  court	  

 for	  the	  relief	  as	  stated	  herein	  as	  well	  as	  any	  general	  relief	  this	  Court	  deems	  

 necessary	  and	  proper.	  	  	  


 	         	  

 	  

 	  

 	  



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                                            Respectfully submitted,
           	  
                                            BULLOCK,	  FLY,	  HORNSBY	  &	  EVANS	  
 	  
 	  
                                            /s/	  Luke	  A.	  Evans	  
                                            LUKE	  A.	  EVANS,	  BPR	  #23620	  
                                            Attorney	  for	  Defendant	  
                                            302	  North	  Spring	  Street	   	                	  
                                            P.	  O.	  Box	  398	  
                                            Murfreesboro,	  TN	  37133-­‐0398	  
                                            (615)	  896-­‐4154	  
 	  
                                                     Certificate	  of	  Service	  
                                                                       	  
 	        I	  hereby	  certify	  that	  on	  January	  23,	  2012,	  I	  electronically	  filed	  the	  foregoing	  
 Motion	  with	  the	  clerk	  of	  the	  court	  by	  using	  the	  CM/ECF	  system,	  which	  will	  send	  a	  
 Notice	  of	  Electronic	  Filing	  to	  the	  following:	  Van	  Vincent,	  Assistant	  United	  States	  
 Attorney,	  110	  Ninth	  Avenue	  South,	  Suite	  A-­‐961,	  Nashville,	  Tennessee	  37203;	  along	  
 with	  the	  other	  parties	  in	  this	  case	  as	  listed	  to	  be	  noticed	  in	  the	  CM/ECF	  system.	  
 	  
 	        	         	        	             	          	          /s/	  Luke	  A.	  Evans___________________________	  
 	        	         	        	             	          	          LUKE	  A.	  EVANS	  
 	  
 	  
 	  
 	  




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